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                             EXHIBIT 8
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Anda Inc. Defendant Data taken from Supplemental 3 – Data Files 1

 County                                Date Range                         Total Number of Anda Transactions
 Cuyahoga County                       2006-2014                          2903
 Summit County                         2006-2014                          3339




1
  The data in the table is derived from the Supplemental 3 – Data Files produced by Plaintiffs in connection with the
Expert Report of Craig J. McCann, Ph.D., CFA. As to Anda, the Data Files contain a large spreadsheet of
transactional data related to Anda, Inc. consisting of 6243 individual lines of data containing more than 30
individual elements per line. The Data Files also include a significant volume of post-2012 ARCOS data which is
still subject to a Protective Order and is to remain sealed at this time. For the convenience of the Court and in
accordance with Federal Rule of Evidence 1006, Anda submits this summary in lieu of that voluminous spreadsheet.
